Case 1:24-cr-20188-RAR Document 13 Entered on FLSD Docket 06/21/2024 Page 1 of 13



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              Case No.       24-20188-CR-RUIZ{s)                                MP
                                         18 U.S.C. § 1956(h)
                                         18 U.S.C. § 1956(a)(3)(B)
                                         18 u.s.c. § 982                              Jun 18, 2024

                                                                                                  Miami


   UNITED STATES OF AMERICA

   vs.

   DIOVANY GUTIERREZ,
   GABRIEL ANTONIO MARTINEZ,
   PAOLA ANDREA SANCHEZ MORENO,
   ANDREW SHAWN FERMIN,
   CARLOS ANDREZ VELEZ, and
   KIMBERLY RUIZ,

                  Defendants.
   _____________/


                                  SUPERSEDING INDICTMENT

          The Grand Jury charges that:

                                              COUNTl

          Beginning in or around June 2023, and continuing through on or about June 11, 2024, in

   Miami-Dade and Broward Counties, in the Southern District of Florida, and elsewhere, the

   defendants,

                                  DIOVANY GUTIERREZ and
                                GABRIEL ANTONIO MARTINEZ,

   did knowingly and voluntarily combine, conspire, confederate, and agree with each other and other

   persons, both known and unknown to the Grand Jury, to commit certain offenses against the United

   States, in violation of Title 18, United States Code, Section 1956, that is, to knowingly conduct a
.Case 1:24-cr-20188-RAR Document 13 Entered on FLSD Docket 06/21/2024 Page 2 of 13


   financial transaction affecting interstate and foreign commerce, which transaction involved the

   proceeds of specified unlawful activity, believing that the property involved in the financial

   transaction represented the proceeds of some form of unlawful activity, and knowing that the

   transaction was designed in whole and in part to:

                  (a)     conceal and disguise the nature, the location, the source, the ownership and

   the control of the proceeds of specified unlawful activity, in violation of Title 18, United States

   Code, Section 1956(a)(l)(B)(i); and

                  (b)     avoid a transaction reporting requirement under State and Federal law, in

   violation of Title 18, United States Code, Section 1956(a)(l)(B)(ii).

          It is further alleged that the specified unlawful activity is the manufacture, importation,

   sale, and distribution of a controlled substance, punishable under the laws of the United States.

          All in violation of Title 18, United States Code, Section 1956(h).

                                               COUNT2

          On or about June 23, 2023, in Broward County, in the Southern District of Florida, and

   elsewhere, the defendants,

                                  DIOVANY GUTIERREZ and
                                GABRIEL ANTONIO MARTINEZ,

   did conduct a financial transaction affecting interstate and foreign commerce involving property,

   that is, funds and monetary instruments including United States currency, represented by a law

   enforcement officer to be the proceeds of specified unlawful activity, with the intent to conceal

   and disguise the nature, location, source, ownership and control of said property, in violation of

   Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

          It is further alleged that the specified unlawful activity is the manufacture, importation,

                                                    2
Case 1:24-cr-20188-RAR Document 13 Entered on FLSD Docket 06/21/2024 Page 3 of 13



   sale, and distribution of a controlled substance, punishable under the laws of the United States.



                                               COUNT3

          On or about July 6, 2023, in Miami-Dade County, in the Southern District of Florida, and

   elsewhere, the defendants,

                                  DIOVANY GUTIERREZ and
                                GABRIEL ANTONIO MARTINEZ,

   did conduct a financial transaction affecting interstate and foreign commerce involving property,

   that is, funds and monetary instruments including United States currency, represented by a law

   enforcement officer to be the proceeds of specified unlawful activity, with the intent to conceal

   and disguise the nature, location, source, ownership and control of said property, in violation of

   Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

          It is further alleged that the specified unlawful activity is the manufacture, importation,

   sale, and distribution of a controlled substance, punishable under the laws of the United States.



                                               COUNT4

          On or about August 3, 2023, in Miami-Dade County, in the Southern District of Florida,

   and elsewhere, the defendant,

                                      DIOVANY GUTIERREZ,

   did conduct a financial transaction affecting interstate and foreign commerce involving property,

   that is, funds and monetary instruments including United States currency, represented by a law

   enforcement officer to be the proceeds of specified unlawful activity, with the intent to conceal

   and disguise the nature, location, source, ownership and control of said property, in violation of


                                                    3
Case 1:24-cr-20188-RAR Document 13 Entered on FLSD Docket 06/21/2024 Page 4 of 13



   Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

          It is further alleged that the specified unlawful activity is the manufacture, importation,

   sale, and distribution of a controlled substance, punishable under the laws of the United States.

                                               COUNTS

          On or about August 29, 2023, in Miami-Dade County, in the Southern District of Florida,

   and elsewhere, the defendants,

                                   DIOVANY GUTIERREZ and
                                 GABRIEL ANTONIO MARTINEZ,

   did conduct a financial transaction affecting interstate and foreign commerce involving property,

   that is, funds and monetary instruments including United States currency, represented by a law

   enforcement officer to be the proceeds of specified unlawful activity, with the intent to conceal

   and disguise the nature, location, source, ownership and control of said property, in violation of

   Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

          It is further alleged that the specified unlawful activity is the manufacture, importation,

   sale, and distribution of a controlled substance, punishable under the laws of the United States.

                                               COUNT6

          Beginning in or around June 2023, and continuing through the return ofthis Superseding

   Indictment, in Miami-Dade and Broward Counties, in the Southern District of Florida, and

   elsewhere, the defendants,

                                  DIOVANY GUTIERREZ,
                               GABRIEL ANTONIO MARTINEZ,
                             PAOLA ANDREA SANCHEZ MORENO,
                                 ANDREW SHAWN FERMIN,
                                CARLOS ANDREZ VELEZ, and
                                     KIMBERLY RUIZ,



                                                    4
.Case 1:24-cr-20188-RAR Document 13 Entered on FLSD Docket 06/21/2024 Page 5 of 13


   did knowingly and voluntarily combine, conspire, confederate, and agree with each other and other

   persons, both known and unknown to the Grand Jury, to commit certain offenses against the United

   States, in violation of Title 18, United States Code, Section 1956, that is, to knowingly conduct a

   financial transaction affecting interstate and foreign commerce, which transaction involved the

   proceeds of specified unlawful activity, knowing that the property involved in the financial

   transaction represented the proceeds of some form of unlawful activity, and knowing that the

   transaction was designed in whole and in part to:

           (a)    conceal and disguise the nature, the location, the source, the ownership and the

   control of the proceeds of specified unlawful activity, in violation of Title 18, United States Code,

    Section 1956(a)(l)(B)(i); and

           (b)    avoid a transaction reporting requirement under State and Federal law, in violation

   of Title 18, United States Code, Section 1956(a)(l)(B)(ii).

           It is further alleged that the specified unlawful activity is the manufacture, importation,

   sale, and distribution of a controlled substance, punishable under the laws of the United States.

           All in violation of Title 18, United States Code, Section 1956(h).

                                    FORFEITURE ALLEGATIONS

           The allegations of this Superseding Indictment are hereby re-alleged and by this reference

   fully incorporated herein for the purpose of alleging forfeiture to the United States of America of

   certain property in which any of the defendants, DIOVANY GUTIERREZ, GABRIEL

   ANTONIO MARTINEZ, PAOLA ANDREA SANCHEZ MORENO, ANDREW SHAWN

   FERMIN, CARLOS ANDREZ VELEZ, and KIMBERLY RUIZ, have an interest.


           1.     Upon conviction of a violation of Title 18, United States Code, Section 1956, as

                                                    5
•Case 1:24-cr-20188-RAR Document 13 Entered on FLSD Docket 06/21/2024 Page 6 of 13


    alleged in this Indictment, the defendants shall forfeit to the United States any property, real or

   personal, involved in such offense, and any property traceable to such property, pursuant to Title

    18, United States Code, Section 982(a)(l).

           2.      The property subject to forfeiture as a result of the alleged offenses includes, but is

   not limited to, the following cryptocurrency wallets and their contents:

                   1.     TWxpG6BnSGjQJEmWPGMHZFxBMC6GQ9gnHP

                   2.      TQq8cg6erBLw6BdlR7soAtlm3TMY2Afjuv

   and the following bank account and its contents:

                   3.     Bank of America account number 898149780396
           All pursuant to Title 18, United States Code, Section 982(a)(l), and the procedures set forth

   in Title 21, United States Code, Section 853, as incorporated by Title 18, United States Code,

   Section 982(b)(1 ).




   UNITED STATES ATTORNEY




                                 EZ
                                 TES ATTORNEY




                                                     6
 Case 1:24-cr-20188-RAR Document 13 Entered on FLSD Docket 06/21/2024 Page 7 of 13
                                                UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                                      CASE NO.: 24-CR-20188-RUIZ(s)

v.
                                                                              CERTIFICATE OF TRIAL ATTORNEY
DIOVANY GUTIERREZ, et al.,
- - - - - - - - - - - - - - - - -I
                Defendants.                                                   Superseding Case Information:
Court Division (select one)                                                   New Defendant(s) (Yes or No) Yes
   ~ Miami        D Key West                       □ FTP                      Number of New Defendants 4
          □ FTL             □ WPB                                             Total number of new counts -1-

I do hereby certify that:
   1.   I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
        witnesses and the legal complexities of the Indictment/Information attached hereto.
  2.    I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
        their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

     3.     Interpreter: (Yes or No) Yes
            List language and/or dialect: =Sp.a; . a;.;. .n_i.c. .s_
                                                                   h _ _ __
     4.     This case will take _7_ days for the parties to try.

     5.     Please check appropriate category and type of offense listed below:
            (Check only one)                                 (Check only one)
           I   □ Oto 5 days                               t:I Petty
           II el 6 to 10 days                             □ Minor
           III D 11 to 20 days                            D Misdemeanor
           IV Cl 21 to 60 days                            IE!Felony
           V D 61 days and over

     6.
     Has this case been previously filed in this District Court? (Yes or No) Yes
     If yes, Judge Ruiz                                    Case No. 24-cr-20188-Ruiz
 7.  Has a complaint been filed in this matter? (Yes or No) Yes                    ----------------
     If yes, Magistrate Case No. 24-mj-03125-Torres; 24-mj-03145-Goodman
 8.  Does this case relate to a previously filed matter in this District Court? (Yes or No) No
     If yes, Judge _ _ _ _ _ _ _ _ _-,-,-_ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 9.  Defendant(s) in federal custody as of '"""6/.,,_1_1_/2_0_2_4_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 10. Defendant(s) in state custody as of N_/A  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 11. Rule 20 from the _____ District of _ _ _ _ _ _ _ _ __
 12. Is this a potential death penalty case? (Yes or No) No
 13. Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
     prior to August 8, 2014 (Mag. Judge ShaniekMaynard? (Yes or No) No
 14. Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior
     to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No
 15. Did this matter involve the participation of or consultation with Magistrate Judge Eduardo I. Sanchez
     during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023? No
 16. Did this matter involve the participation of or consultation with now Magistrate Judge Marta Fulgueira
     Elfenbein during her tenure at the U.S. Attorney's Office, which concluded on March 5, 2024? No


                                                                        By:
                                                                                 Juan A. Gonzalez
                                                                                 Assistant United States Attorney
                                                                                 FL Bar No.         897388
Case 1:24-cr-20188-RAR Document 13 Entered on FLSD Docket 06/21/2024 Page 8 of 13




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

   Defendant's Name: -----'D=I=O~V_,____,AN'--=-'-"Y'-G==U'--'=T=IE=RRE==z=---------------------

   Case No: -------=2_,_4---==C=R"----'-2=0:....c:cl-=88~-=R=U-=IZ=(=s)._______ _ _ _ _ _ _ _ _ _ _ _ __

   Counts #: 1 and 6

   Conspiracy to launder monetary instruments

   Title, 18 United States Code, Section 1956(h)
   * Max. Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 5 years           •
   * Max. Fine: $500,000.00 or twice the value of the property involved in the transaction

   Counts #: 2-5

   Laundering monetary instruments

   Title 18, United States Code, Section 1956(a)(3)(B)
   * Max. Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 5 years
   * Max. Fine: 10,000.00 or the value of the property involved in the transaction




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20188-RAR Document 13 Entered on FLSD Docket 06/21/2024 Page 9 of 13




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

   Defendant's Name:         GABRIEL ANTONIO MARTINEZ

   Case No:             24-CR-20188-RUIZ(s)

   Counts #: 1 and 6

   Conspiracy to launder monetary instruments

   Title, 18 United States Code, Section 1956(h)
   *Max.Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 5 years
   * Max. Fine: $500,000.00 or twice the value of the property involved in the transaction

   Counts#: 2, 3, 5

   Laundering monetary instruments

   Title 18, United States Code, Section 1956(a)(3)(B)
   *Max.Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 5 years
   * Max. Fine: 10,000.00 or the value of the property involved in the transaction




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20188-RAR Document 13 Entered on FLSD Docket 06/21/2024 Page 10 of 13




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                              PENAL TY SHEET

                         PAOLA ANDREA SANCHEZ MORENO
   Defendant's Name: --=-=-=-=c..=cc,=--=--=----c.=-=-=-=-=--=--=~=~~=-=-===-~----------

   Case No: -------=2'-'-4----'-C=R=--=2--'---'01=----=8=8-=-R=-UI=-==Z=(sc..,,..)_ _ _ _ _ _ _ _ _ _ _ _ _ __

   Count#: 6

   Conspiracy to launder monetary instruments

   Title, 18 United States Code, Section 1956(h)
   * Max. Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): NIA
   * Max. Supervised Release: 5 years
   * Max. Fine: $500,000.00 or twice the value of the property involved in the transaction




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20188-RAR Document 13 Entered on FLSD Docket 06/21/2024 Page 11 of 13




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

   Defendant's Name: - ~ANDREW
                         ~ ~ ~ -SHAWN
                                 --== FERMIN
                                        ~~=~~~--------------

   Case No: ----~24~-~C~R~-2~0~1=88~-=R~U=IZ=("'-+s)_ _ _ _ _ _ _ _ _ _ _ _ _ __

   Count#: 6

   Conspiracy to launder monetary instruments

   Title, 18 United States Code, Section 1956(h)
   * Max. Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 5 years
   * Max. Fine: $500,000.00 or twice the value of the property involved in the transaction




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20188-RAR Document 13 Entered on FLSD Docket 06/21/2024 Page 12 of 13




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                             PENALTY SHEET

   Defendant's Name: __C=ARL'--==O=S'-'AN'-=-'=D=RE=Zc:...V--'-=E=L=E=Z:.___ _ _ _ _ _ _ _ _ _ _ __

    Case No: --------=2:....:4-----'-C=R=--=2--=---0=18=8'---'-R=U=l=Z=(s""")_ _ _ _ _ _ _ _ _ _ _ _ _ __

    Count#: 6

    Conspiracy to launder monetary instruments

    Title, 18 United States Code, Section l 956(h)
    *Max.Term of Imprisonment: 20 years
    * Mandatory Min. Term of Imprisonment (if applicable): N/A
    * Max. Supervised Release: 5 years
    * Max. Fine: $500,000.00 or twice the value of the property involved in the transaction




      *Refers only to possible term of incarceration, supervised release and fines. It does not include
            restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20188-RAR Document 13 Entered on FLSD Docket 06/21/2024 Page 13 of 13




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           PENALTY SHEET

   Defendant's Name: ----'KI=Mc:.=B=E=RL-=-Y=--=-R=U=---=I=Z'--------------------

   Case No: ------=24-'-----=C-=-R=-..c-2=0=1-=--88"--=R=U=IZ=(=s)~--------------

   Count #: 6

   Conspiracy to launder monetary instruments

   Title, 18 United States Code, Section 1956(h)
   * Max. Term of Imprisonment: 20 years
   * Mandatory Min. Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 5 years
   * Max. Fine: $500,000.00 or twice the value of the property involved in the transaction




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms, or forfeitures that may be applicable.
